Case 1:21-cr-20462-KMW Document 162 Entered on FLSD Docket 10/03/2022 Page 1 of 4




                            UM TED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 C ase N o. 21-C R-20462-K M W


  U NITED STA TE S O F AM ER ICA

  VS.

  LU Z ELSA BA LBO A G A R CIA ,

         D efendant.
                                             /

                                     FA CTUA L PR O FFER

         The United Vtates of Amedca,Luz Elsa Balboa Garcia (the çr efendanf'),and the
  Defendant'scotmselagreethat,hadtlliscasegonetotrial,theUnited Stateswotlldhaveproven
  thefollowing factsbeyondareasonabledoubt,andthatsuch factsaresttflkientto estéblish the
                                                                       .




  Defendant'sglziltasto,the offensescharged in the Indictm ent:

         On or about August 18,2021,the Defendant entered M inm i International Airport, in

  Minmi-DadeCotmty,i!lthe SouthernDistrictofFlorida,and attempted to board CopaAirlines
  flight227f'
            rom M iapiIntem ationalAl
                                    'rporttoPanmnaCity,Panama,transportingapproximately
  tenthousandàndsixhtmdreddollars($10,600)inUnitedStatescurrency,andninety-onethousand
                                                                           *   .   .



  andfourhtmdredetlros(f91,400)inElzropeanUnioncurrency inherluggageand on herperson.
  Co-defendant Juan de Dios Hernandez Diaz attem pted to board the same flighttransporting

  approximately seventy-onethousand,tlzreehlmdred and eightdollars($71,308)inUnitedStates'
  c= ency,and sixtpfive thousand,two hundred and sikty ettros (f65,260)in European Urlion
  currency,and co-defendantA ntonio Eduardo Jim enez Tam ayo also attem pted to board the sam e

  flight transporting approximately thirty-two thousand, five htmdred and ninetp seyen dollars
Case 1:21-cr-20462-KMW Document 162 Entered on FLSD Docket 10/03/2022 Page 2 of 4




   ($32,597)inUnitedStatesc= ency,andonehundredfivethousandeuros(f105,000)inEuropean
  U nion currency.

         TheDefendantpasjedtlzrough airportsecurity and approached herdeparturegateto board

  a Copa Airlines flight from M inm i,Flodda to Panam a City,Panam a. Before she boarded the

  flight,atmiformedofficerwithU.S.CustomsandBorderProtection(:GCBP'')askedherhow much
  c= ency she was canying. The Defendant falsely stated $1,000. The Defendantboarded the

  flight. However,the Defendantwas soon broughtback to thejetbridge because hertlight
  reservation wasdiscovered to be associated with a suspeciemailaddpss. The co-defendants'
  flightreservationswere also discovered to be associated with the snm e suspectemail,and they

  wereseparately stopped'forquestioning.
                                                                                          '
                       ;

         Dtlringtheinitialquestioninginthejetbridge,CBPaskedtheDefendanthow muchmoney
  shewascanying on herperson and in herluggage,including cany-ons. TheDefendantfalsely
  stated that she was carrying approximately $2,000 in United States c= ency and its foreign
  equivalent. CBP officersexplained to theDefendantthelegalrequirementto reportany cash over

  $10,000 in United States currency and itsforeign eqtlivalent,to whiqh the'D efendantverbally
                                                                          ,




  respondedthatshetmderstood.CBP thenpresentedtheDefendantwith aCBP Currency Reporting

  FlyerForm #0207-0909 ttTorm 207''),m itten in hernative Spnnish language. TheCBP Form
  207 explainedthe legalyequirém entthatpersonstraveling eitheroutof,orinto,theUnited States

  mustreportany m onetary instrumehtsthatthey arecarrying in excessof$10,000inUrlited States
  currency and itsforeign equivalent. The Defendantsigned the CBP Form 207 and ceriiled thqt
  shewascanying ::$1000''inUzlited Statescurrency oritsforeign eqtlivalent.



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Case 1:21-cr-20462-KMW Document 162 Entered on FLSD Docket 10/03/2022 Page 3 of 4




          CBP conductedan independentbaggageinspection oftheDefendanf'sbackpack and carry- '

   on luggage,where CBP fotmd approxim ately $117,595 in United Statescurrency and itsforeign
   equivalent.'The currency w as distributed nm ongsttwo fem ale w allets of sim ilar shape and size,

   and a clear m akeup case. The clear m akeup case w as locàted inside a gray and orange canyon

   bag.In total,theDefendantwascarrying an additional$115,595in United Statescurrency and its
   foreign equivalentin herluggage and on herperson,despitetheD efendant'ssigned certification
                                                                                                 k
   on CBP Form 207 stating thatshe was only canying $2,000 in Urlited Statescurrency and 1ts
   foreign equivalent.




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                                      IntentionallyLeftBlankl'




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Case 1:21-cr-20462-KMW Document 162 Entered on FLSD Docket 10/03/2022 Page 4 of 4




          Thefactsdescribed above are notintended to bea completerecitation ofthe factsofthis

  caseandarem erely intendedtofonn abasisforthetmdersigned defendant'sknowing,willful,and

  intentionalplea ofguilty.

                                        JUAN A NT O M O G O N ZA LEZ
                                        W TED STA TE S        O R N EY
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                                                                                  Nx
  Date:     71 21 .            By:           .                                         X
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